20-11563-scc       Doc 1737       Filed 09/17/21 Entered 09/17/21 13:17:16                   Main Document
                                              Pg 1 of 17



 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

 In re:                                                         Chapter 11

 GRUPO AEROMÉXICO, S.A.B. de C.V., et al.,                      Case No. 20-11563 (SCC)

                 Debtors.1                                      (Jointly Administered)

                                                                Ref. Docket Nos. 1723-1726


                                           AFFIDAVIT OF SERVICE

STATE OF CONNECTICUT )
                     ) ss.:
COUNTY OF MIDDLESEX )

ANGHARAD BOWDLER, being duly sworn, deposes and says:

1. I am employed as a Director of Client Services by Epiq Corporate Restructuring, LLC, with
   their principal office located at 777 Third Avenue, New York, New York 10017. I am over
   the age of eighteen years and am not a party to the above-captioned action.

2. On September 15, 2021, I caused to be served the:

     a. “Certificate of No Objection Regarding Debtors’ Motion for Entry of an Order
        Authorizing Debtors to Reject that Certain Aircraft Lease,” dated September 15, 2021
        [Docket No. 1723], (the “CNO Reject Lease”),

    b. “Certificate of No Objection Regarding Debtors’ Motion for an Order Pursuant to 11
       U.S.C. § 105 and Fed. R. Bankr. P. 9019 Approving an Unsecured Claim Settlement by
       and Between the Debtors and the Clover Parties,” dated September 15, 2021 [Docket No.
       1724], (the “CNO Clover Settlement”),

     c. “Notice of Scheduled Hearing Date,” dated September 15, 2021 [Docket No. 1725], (the
        “Hearing Notice”), and




1
 The Debtors in these cases, along with each Debtor’s registration number in the applicable jurisdiction, are as
follows: Grupo Aeroméxico, S.A.B. de C.V. 286676; Aerovías de Mexico, S.A. de C.V 108984; Aerolitoral, S.A. de
C.V. 217315; Aerovías Empresa de Cargo, S.A. de C.V. 437094-1. The Debtors’ corporate headquarters is located
at Paseo de la Reforma No. 243, piso 25 Colonia Cuauhtémoc, Mexico City, C.P. 06500.
20-11563-scc     Doc 1737      Filed 09/17/21 Entered 09/17/21 13:17:16             Main Document
                                           Pg 2 of 17



    d. “Second Supplemental Declaration of Brett Miller in Support of the Application for Entry
       of an Order Authorizing the Retention and Employment of Willkie Farr & Gallagher LLP
       as Counsel to the Official Committee of Unsecured Creditors Nunc Pro Tunc to May 1,
       2021,” dated September 15, 2021 [Docket No. 1726], (the “2 nd Supplemental Miller
       Declaration”),

by causing true and correct copies of the:

       i.   CNO Reject Lease, CNO Clover Settlement, Hearing Notice, and 2 nd Supplemental
            Miller Declaration to be enclosed securely in separate postage pre-paid envelopes and
            delivered via first class mail to those parties listed on the annexed Exhibit A,

     ii.    CNO Reject Lease to be enclosed securely in separate postage pre-paid envelopes and
            delivered via first class mail to those parties listed on the annexed Exhibit B,

     iii.   CNO Clover Settlement to be enclosed securely in separate postage pre-paid
            envelopes and delivered via first class mail to those parties listed on the annexed
            Exhibit C,

     iv.    CNO Reject Lease, CNO Clover Settlement, Hearing Notice, and 2 nd Supplemental
            Miller Declaration to be delivered via electronic mail to those parties listed on the
            annexed Exhibit D, and

      v.    CNO Reject Lease to be delivered via electronic mail to those parties listed on the
            annexed Exhibit E.

3. All envelopes utilized in the service of the foregoing contained the following legend:
   “LEGAL DOCUMENTS ENCLOSED. PLEASE DIRECT TO THE ATTENTION OF
   ADDRESSEE, PRESIDENT OR LEGAL DEPARTMENT.”

                                                                      /s/ Angharad Bowdler
                                                                      Angharad Bowdler

  Sworn to before me this
  16th day of September, 2021
  /s/ Amy E. Lewis
  Notary Public, State of Connecticut
  Acct. No. 100624
  Commission Expires: 8/31/2022
20-11563-scc   Doc 1737   Filed 09/17/21 Entered 09/17/21 13:17:16   Main Document
                                      Pg 3 of 17




                                 EXHIBIT A
                                         GRUPO AEROMÉXICO, S.A.B. DE C.V.
         20-11563-scc      Doc 1737       Filed 09/17/21   Entered 09/17/21 13:17:16
                                                    Service List
                                                                                              Main Document
                                                      Pg 4 of 17
Claim Name                               Address Information
AIR LEASE CORPORATION                    2000 AVE OF THE STARS, #1000N LOS ANGELES CA 90067
CREDIT AGRICOLE CORPORATE & INVESTMENT   BANK, TOKYO BRANCH ATTN AGENCY & MIDDLE OFFICE 1-9-2, HIGASHI-SHIMBASHI,
                                         MINATO-KU TOKYO 105-0021 JAPAN
FEDERAL AVIATION ADMINISTRATION          800 INDEPENDENCE AVE SW WASHINGTON DC 20591
GRUPO TELVISTA SA DE CV                  BLV AGUA CALENTE 11606 AVIACION TIJUANA BAJA CALIFORNIA TIJUANA 22420 MEXICO
INTERNAL REVENUE SERVICE                 ATTN CENTRALIZED INSOLVENCY OPERATION PO BOX 7346 PHILADELPHIA PA 19101-7346
MTU MAINTENANCE                          WORLD TRADE CENTER, OFFICE TOWER B/16F, STRAWINSKYLAAN 1639 1077XX AMSTERDAM
                                         NETHERLANDS
NATIXIS, NEW YORK BRANCH                 ATTN BENOIST DE VIMAL & VALERIE DU MARS 1251 AVE OF THE AMERICAS, 5TH FL REF:
                                         NBB LORETO LEASE CO LTD - MSN 43859 NEW YORK NY 10020
NATIXIS, NEW YORK BRANCH                 ATTN URS FISHCER & HANNA BECKLES 1251 AVE OF THE AMERICAS, 5TH FL REF: NBB
                                         LORETO LEASE CO LTD - MSN 43859 NEW YORK NY 10020
SECURITIES AND EXCHANGE COMMISSION       ATTN SEC HEADQUARTERS 100 F STREET NE WASHINGTO DC 20549
SUMITOMO MITSUI BANKING CORPORATION      ATTENTION SHAWN POWERS 277 PARK AVE NEW YORK NY 10172




                                  Total Creditor count 10




Epiq Corporate Restructuring, LLC                                                                         Page 1 OF 1
20-11563-scc   Doc 1737   Filed 09/17/21 Entered 09/17/21 13:17:16   Main Document
                                      Pg 5 of 17




                                 EXHIBIT B
20-11563-scc   Doc 1737    Filed 09/17/21 Entered 09/17/21 13:17:16          Main Document
                                       Pg 6 of 17
                           GRUPO AEROMÉXICO, S.A.B. de C.V., et al.
                                   Case No. 20-11563 (SCC)
                     First Class Mail Additional Service – Docket No. 1723


PINATA LEASING CO., LTD.
C/O SUMITOMO MITSUI FINANCE AND LEASING COMPANY, LIMITED
1-3-2 MARUNOUCHI
CHIYODA-KU, TOKYO 100-8287

SUMITOMO MITSUI BANKING CORPORATION, NEW YORK BRANCH
277 PARK AVENUE
NEW YORK, NY 10172
20-11563-scc   Doc 1737   Filed 09/17/21 Entered 09/17/21 13:17:16   Main Document
                                      Pg 7 of 17




                                 EXHIBIT C
                                       GRUPO AEROMÉXICO, S.A.B. DE C.V.
         20-11563-scc      Doc 1737      Filed 09/17/21   Entered 09/17/21 13:17:16
                                                   Service List
                                                                                            Main Document
                                                     Pg 8 of 17
Claim Name                              Address Information
CLOVER AIRCRAFT LEASING COMPANY LIMITED 2 GRAND CANAL SQUARE GRAND CANAL HARBOUR DUBLIN 2 IRELAND
PAAL CETUS COMPANY LTD                 C/O PING AN INTERNATIONAL FINANCIAL- LEASING CO LTD; ATTN YE TIAN (JOE) 7F,
                                       ONE IFC #8 CENTURY AVE SHANGHAI 200120 CHINA
PAAL CETUS COMPANY LTD                 ATTN MICHAEL YU SUITE 603-606, 6F ONE IFC, 1 HARBOUR VIEW STREET CENTRAL HONG
                                       KONG
PAAL CETUS COMPANY LTD                 ATTN GARETH DELANY, EXECUTIVE DIR 2 GRAND CANAL SQUARE GRAND CANAL HABOUR
                                       DUBLIN 2 D02 A342 IRELAND
PAAL CETUS COMPANY LTD                 C/O CLIFFORD CHANCE US LLP ATTN JENNIFER DEMARCO; MICHELLE MCGREAL; SARAH N
                                       CAMPBELL & ROBERT JOHNSON 31 W 52ND ST NEW YORK NY 10019




                               Total Creditor count 5




Epiq Corporate Restructuring, LLC                                                                       Page 1 OF 1
20-11563-scc   Doc 1737   Filed 09/17/21 Entered 09/17/21 13:17:16   Main Document
                                      Pg 9 of 17




                                 EXHIBIT D
  20-11563-scc      Doc 1737     Filed 09/17/21 Entered 09/17/21 13:17:16          Main Document
                                      GRUPO AEROMÉXICO, S.A.B. de C.V., et al
                                              Pg  10 of 17
                                                MSL Email List




Creditor Name                                    Email Address
AEROPUERTO DE CANCUN SA DE CV                    AGUZMAN@ASUR.COM.MX
AEROPUERTO DE GUADALAJARA SA DE CV               DARELLANOS@AEROPUERTOSGAP.COM.MX
AEROPUERTO DE MONTERREY SA DE CV                 ACAMPOS@OMA.AERO
AEROPUERTO INTERNACIONAL DE LA CIUDAD            FPARDO@AICM.COM.MX
AEROPUERTOS Y SERVICIOS AUXILIARES               MAM.COMERCIAL@ASA.GOB.MX
AIR LEASE CORPORATION                            INFO@AIRLEASECORP.COM
AKIN GUMP STRAUSS HAUER & FELD LLP (COUNSEL TO   DBOTTER@AKINGUMP.COM; AQURESHI@AKINGUMP.COM;
THE AD HOC GROUP OF SENIOR NOTEHOLDERS)          JRUBIN@AKINGUMP.COM
ASOCIACION SINDICAL DE PILOTOS AVIADORES         ARTURO.MALIACHI@ASPA.ORG.MX

ASOCIACION SINDICAL DE PILOTOS AVIADORES         SANTIAGOLOPEZCAD@GMAIL.COM; AVIONETO@HOTMAIL.COM
ASSISTANT UNITED STATES ATTORNEY
SOUTHERN DISTRICT OF NEW YORK
STEPHEN CHA-KIM                                  STEPHEN.CHA-KIM@USDOJ.GOV
BANCO BILBAO VIZCAYA ARGENTARIA, S.A.            MARIA.ZOTES@BBVA.COM; ECA.STRUCTURING@BBVA.COM
BANCO BILBAO VIZCAYA ARGENTARIA, S.A.            MARIA.ZOTES@BBVA.COM ; ECA.STRUCTURING@BBVA.COM
BARNES & THORNBURG LLP (COUNSEL FOR
FLIGHTSAFETY INTERNATIONAL INC.)                 DAVID.POWLEN@BTLAW.COM; JOSEPH.MATTEO@BTLAW.COM
BENESCH, FRIEDLANDER, COPLAN & ARONOFF LLP
(COUNSEL FOR GOGO LLC)                           MBARRIE@BENESCHLAW.COM; KCAPUZZI@BENESCHLAW.COM
BRAGAR EAGEL & SQUIRE, P.C. (COUNSEL FOR
AERITAS, LLC)                                    EAGEL@BESPC.COM
BROWN & CONNERY, LLP (COUNSEL FOR SAP MÉXICO,
S.A. DE C.V.0                                    JMONTGOMERY@BROWNCONNERY.COM
BUCHALTER PC (COUNSEL FOR ORACLE AMERICA, INC.
AND ORACLE CREDIT CORPORATION)                   SCHRISTIANSON@BUCHALTER.COM
CELESTIAL AVIATION TRADING                       FIONA.CONNOLLY@GECAS.COM
CITIBANK, NA                                     PAUL.O.JOSEPH@CITI.COM



CLEARY GOTTLIEB STEEN & HAMILTON LLP
(COUNSEL FOR DEUTSCHE BANK AG, LONDON BRANCH;
MASSACHUSETTS MUTUAL LIFE INSURANCE COMPANY;
THE LINCOLN NATIONAL LIFE INSURANCE COMPANY;
SABCAPITAL, S.A. DE C.V., SOFOM, E.R.; NASSAU LIFE
INSURANCE COMPANY (AS SUCCESSOR IN INTEREST TO
PHOENIX LIFE INSURANCE COMPANY); NASSAU LIFE
INSURANCE COMPANY OF TEXAS (AS SUCCESSOR IN
INTEREST TO CONSTITUTION LIFE INSURANCE
COMPANY); NASSAU LIFE INSURANCE COMPANY OF
KANSAS (AS SUCCESSOR IN INTEREST TO THE PYRAMID
LIFE INSURANCECOMPANY); PHL VARIABLE INSURANCE
COMPANY; INDUSTRIAL AND COMMERCIAL BANK OF
CHINAMEXICO, S.A. INSTITUCION DE BANCA MULTIPLE;
INDUSTRIAL AND COMMERCIAL BANK OF CHINA
LIMITED,DUBAI (DIFC) BRANCH; AND INDUSTRIAL AND
COMMERCIAL BANK OF CHINA LIMITED, NEW YORK
BRANCH, COLLECTIVELY, THE “LENDER PARTIES”,        RCOOPER@CGSH.COM; FLODELL@CGSH.COM;
APOLLO MANAGEMENT HOLDINGS, L.P.,)                 LBAREFOOT@CGSH.COM




                                                 Page 1 of 6
   20-11563-scc      Doc 1737      Filed 09/17/21 Entered 09/17/21 13:17:16             Main Document
                                        GRUPO AEROMÉXICO, S.A.B. de C.V., et al
                                                Pg  11 of 17
                                                  MSL Email List




Creditor Name                                        Email Address



CLEARY GOTTLIEB STEEN & HAMILTON LLP
(COUNSEL TO GRUPO AEROPORTUARIO DEL CENTRO
NORTE, S.A.B. DE C.V / COUNSEL TO GRUPO
AEROPORTUARIO DEL SURESTE, S.A.B. DE C.V./ COUNSEL
TO GRUPO AEROPORTUARIO DEL PACIFICO, S.A.B. DE
C.V./ NACIONAL FINANCIERA, S.N.C., INSTITUCIÓN DE
BANCA DE DESARROLLO, DIRECCIÓN FIDUCIARIA,AS
TRUSTEE OF THE IRREVOCABLE ADMINISTRATION AND
PAYMENT TRUST AGREEMENT NO. 80460( MEXICO CITY
AIRPORT TRUST) AND BANCO INVEX, S.A., INSTITUCIÓN
DE BANCA MULTIPLE, INVEX GRUPO FINANCIERO, AS
TRUSTEE OF THE IRREVOCABLE GUARANTY,
ADMINISTRATION AND PAYMENT TRUST AGREEMENT
NO. 2172 (SECURITY TRUST), COUNSEL TO BBVA
BANCOMER, S. A., INSTITUCIÓN DE BANCA MÚLTIPLE,
GRUPO FINANCIERO BBVA BANCOMER “BBVA”)               RCOOPER@CGSH.COM; LBAREFOOT@CGSH.COM
COZEN O’CONNOR (COUNSEL FOR AMERIJET
INTERNATIONAL, INC)                                  ESCHMIDT@COZEN.COM; MBENEDEK@COZEN.COM
CREDIT AGRICOLE CORPORATE AND                        THOMAS.JEAN@CA-CIB.COM
DEBEVOISE & PLIMPTON LLP (COUNSEL FOR
TRUENOORD LTD                                        JBALL@DEBEVOISE.COM
DENTONS US LLP (COUNSEL FOR                          LAUREN.MACKSOUD@DENTONS.COM;
DECOLAR.COM LTDA)                                    ANDREW.AZARMI@DENTONS.COM
DENTONS US LLP (COUNSEL FOR CHORUS AVIATION
CAPITAL (IRELAND) LIMITED AS SERVICE PROVIDER FOR
COMMUTER AIRCRAFT LEASING 2017 V LIMITED AND
COMMUTER AIRCRAFT LEASING 2017 VI LIMITED
/CHORUS AVIATION).                                   LEE.WHIDDEN@DENTONS.COM
DEUTSCHE BANK MEXICO, SA F/1748                      ALONSO.ROJAS@DB.COM
DEUTSCHE BANK TRUST COMPANY AMERICAS                 DEISILANIA.GOMES@DB.COM
                                                     RACHEL.ALBANESE@US.DLAPIPER.COM;
DLA PIPER LLP (US) (COUNSEL FOR THE COCA-COLA        MARK.FRIEDMAN@US.DLAPIPER.COM;
EXPORT CORPORATION)                                  NATHAN.SHEPS@US.DLAPIPER.COM
DORSEY & WHITNEY LLP
(COUNSEL FOR US BANK ENTITIES)
ATTN: SAMUEL S. KOHN, NATASHA WELLS                  KOHN.SAM@DORSEY.COM; WELLS.NATASHA@DORSEY.COM
DUANE MORRIS LLP (COUNSEL FOR MOODY'S                PABOSSWICK@DUANEMORRIS.COM;
INVESTORS SERVICE, INC.)                             CRBELMONTE@DUANEMORRIS.COM
ENTSERV ENTERPRISE SERVICES                          ELIZABETH.MORENO@DXC.COM
FAFINSKI MARK & JOHNSON, P.A. (COUNSEL FOR
BEAUTECH POWER SYSTEMS, LLC)                         DAVID.RUNCK@FMJLAW.COM
FALKO REGIONAL AIRCRAFT LIMITED                      MARCUS.ROWLEY@FALKO.COM
                                                     ABAUER@FOLEYHOAG.COM; JTEOH@FOLEYHOAG.COM;
FOLEY HOAG LLP                                       MPARKINSON@FOLEYHOAG.COM
FREIDENBERG, FREIDENBERG & LIFSIC – ABOGADOS         ELIZABETHFREIDENBERG@EMFRL.COM.AR;
(COUNSEL FOR AEROVIAS DE MÉXICO SA DE CV             ELIZABETHFREIDENBERG@GMAIL.COM ;
(AEROMÉXICO) ARGENTINE REGISTERED BRANCH)            MNUNEZ@EMFRL.COM.AR
GENERAL ELECTRIC                                     ALAN.FRETWELL@GE.COM
GENERAL ELECTRIC COMPANY                             KELLAN.GRANT@GE.COM
GLENN AGRE BERGMAN & FUENTES LLP (CONFLICTS
COUNSEL TO THE AD HOC GROUP OF UNSECURED             AGLENN@GLENNAGRE.COM; SSCHMIDT@GLENNAGRE.COM;
CREDITORS)                                           ESHAPIRO@GLENNAGRE.COM; RRAMIREZ@GLENNAGRE.COM
HERBERT SMITH FREEHILLS NEW YORK LLP (COUNSEL
FOR DEVELOPMENT BANK OF JAPAN INC., KFW IPEX-
BANK GMBH, THE CHUGOKU BANK, LTD., AND NTT TC
LEASING CO., LTD.)                                   PETER.BEHMKE@HSF.COM; JONATHAN.CROSS@HSF.COM




                                                     Page 2 of 6
   20-11563-scc          Doc 1737         Filed 09/17/21 Entered 09/17/21 13:17:16               Main Document
                                               GRUPO AEROMÉXICO, S.A.B. de C.V., et al
                                                       Pg  12 of 17
                                                         MSL Email List




Creditor Name                                                 Email Address

HOLLAND & KNIGHT LLP (COUNSEL FOR AVOLON
AEROSPACE AOE 116 LIMITED, AVOLON AEROSPACE AOE
117 LIMITED, WELLS FARGO TRUST CO N.A. /TA
(AIRCRAFT MSN 37165), (AIRCRAFT MSN 37167), (MSN
62147), MSN 62148), TA 36699, TA 36705, TA 36706, TA 36880,
TA 37753, TA 43704 , (AIRCRAFT MSN 33790),(AIRCRAFT
MSN 33783), CONSTITUTION AIRCRAFT LEASING
(IRELAND) 9 LIMITED , AMENDED AND RESTATED TRUST
AGREEMENT (AIRCRAFT 73B-32796 (DELAWARE) TRUST,
CREDITOR AND PARTY-IN-INTEREST BOCA AVIATION
(IRELAND) LIMITED, CREDITOR AND PARTY-IN-INTEREST
MSN 39429 TRUST, CREDITOR AND PARTY-IN-INTEREST
FGL AIRCRAFT IRELAND LIMITED, CREDITORS AND
PARTIES-IN-INTEREST FO GALAXY LEASING LTD. AND
TLC DAFFODIL LTD., CREDITOR AND PARTY-IN-INTEREST             BARBRA.PARLIN@HKLAW.COM;
ENGINE LEASE FINANCE CORPORATION, CREDITOR AND                ARTHUR.ROSENBERG@HKLAW.COM;
PARTY-IN-INTEREST MC ENGINE LEASING LTD, MSN                  MARC.ANTONECCHIA@HKLAW.COM;
39439)                                                        BRIAN.SMITH@HKLAW.COM; ROBERT.JONES@HKLAW.COM
HSBC BANK USA, N.A.                                           DANIELA.ALVARADO@US.HSBC.COM ;
HSBC MEXICO SA                                                CECILIA.STETA@HSBC.COM.MX
HUGHES HUBBARD & REED LLP
(COUNSEL FOR DELTA AIR LINES, INC.)
ATTN: KATHRYN A. COLEMAN, ESQ AND JEFFREY                     KATIE.COLEMAN@HUGHESHUBBARD.COM;
MARGOLIN, ESQ.                                                JEFF.MARGOLIN@HUGHESHUBBARD.COM
HUGHES HUBBARD & REED LLP, ATTN: CHRISTOPHER
WHELAN, ESQ)                                                  CHRISTOPHER.WHELAN@HUGHESHUBBARD.COM
IBM CAPITAL MEXICO 1 S DE RL DE CV                            RASTUDIL@MX1.IBM.COM
KAPLAN KIRSCH & ROCKWELL LLP ( COUNSEL FOR THE
CITY OF AUSTIN, TEXAS, AND THE AUSTIN-BERGSTROM               SOSIT@KAPLANKIRSCH.COM; ESMITH@KAPLANKIRSCH.COM;
INTERNATIONAL AIRPORT)                                        DBANNARD@KAPLANKIRSCH.COM
LATHAM & WATKINS LLP (COUNSEL FOR
CITIBANK, N.A.)                                               KEITH.SIMON@LW.COM; MADELEINE.PARISH@LW.COM
LINEBARGER GOGGAN BLAIR & SAMPSON, LLP
(COUNSEL FOR HARRIS COUNTY)                                   HOUSTON_BANKRUPTCY@PUBLICANS.COM
LINEBARGER GOGGAN BLAIR & SAMPSON, LLP
(COUNSEL FOR TARRANT COUNTY)                                  DALLAS.BANKRUPTCY@PUBLICANS.COM
LINEBARGER GOGGAN BLAIR & SAMPSON, LLP
(COUNSEL FOR BAXAR COUNTY)
ATTN: DAVID G. AELVOET                                        SANANTONIO.BANKRUPTCY@PUBLICANS.COM
LUSKIN, STERN & EISLER LLP (COUNSEL FOR
PARAMOUNT PICTURES CORPORATION)                               HORNUNG@LSELLP.COM
MCELROY, DEUTSCH, MULVANEY & CARPENTER, LLP
(COUNSEL TO CHUBB FIANZAS MONTERREY,
ASEGURADORA DE CAUCIÓN, S.A. (FORMERLY KNOWN
AS ACE FIANZAS MONTERREY, S.A.)
AND ITS PAST, PRESENT, AND FUTURE AFFILIATED                  GBRESSLER@MDMC-LAW.COM;
SURETIES)                                                     MMORANO@MDMC-LAW.COM
MCGUIREWOODS LLP (COUNSEL FOR VITO)                           FGUADAGNINO@MCGUIREWOODS.COM
MCGUIREWOODS LLPN (COUNSEL FOR WELL FARGO                     KWIGNESS@MCGUIREWOODS.COM;
BANK, N.A.)                                                   HCHUNG@MCGUIREWOODS.COM
MILBANK LLP                                                   TLOMAZOW@MILBANK.COM; AHARMEYER@MILBANK.COM

MILLER, CANFIELED, PADDOCK AND STONE, P.L.C      SWANSONM@MILLERCANFIELD.COM;
(COUNSEL FOR WAYNE COUNTY AIRPORT AUTHORITEY) SPINNER@MILLERCANFIELD.COM
MORRISON & FOERSTER LLP (COUNSEL TO THE OFFICIAL
COMMITTEE OF UNSECURED CREDITORS OF GRUPO
AEROMÉXICO, S.A.B. DE C.V., ET AL.)              BBUTTERFIELD@MOFO.COM; JDELGADO@MOFO.COM




                                                              Page 3 of 6
   20-11563-scc      Doc 1737      Filed 09/17/21 Entered 09/17/21 13:17:16            Main Document
                                        GRUPO AEROMÉXICO, S.A.B. de C.V., et al
                                                Pg  13 of 17
                                                  MSL Email List




Creditor Name                                       Email Address
NELSON MULLINS RILEY & SCARBOROUGH, LLP
(COUNSEL FOR DEFENDANT AVENGER FLIGHT
GROUP, LLC)                                         ALAN.KAUFMAN@NELSONMULLINS.COM
NORDIC AVIATION CAPITAL                             NAC@NAC.DK
NORDIC AVIATION CAPITAL                             PHB@NAC.DK
NORTON ROSE FULBRIGHT US LLP (COUNSEL FOR WILLIS    DAVID.ROSENZWEIG@NORTONROSEFULBRIGHT.COM;
LEASE FINANCE CORP)                                 FRANCISCO.VAZQUEZ@NORTONROSEFULBRIGHT.COM
NORTON ROSE FULBRIGHT US LLP (COUNSEL FOR           ANDREW.ROSENBLATT@NORTONROSEFULBRIGHT.COM;
CAE INC)                                            JAMES.COPELAND@NORTONROSEFULBRIGHT.COM
O’MELVENY & MYERS LLP (COUNSEL FOR WELLS FARGO
BANK NATIONAL ASSOCIATION (NOT IN ITS INDIVIDUAL
CAPACITY, BUT SOLELY AS INDENTURE TRUSTEE UNDER
CERTAIN INDENTURE
AGREEMENTS)                                         JKAPLAN@OMM.COM; GOLIVERA@OMM.COM
                                                    ELENA.GONZALEZ@AG.NY.GOV;
OFFICE OF THE NEW YORK STATE ATTORNEY GENERAL       ELIZABETHM.LYNCH@AG.NY.GOV
OFFICE OF THE UNITED STATES TRUSTEE                 ANDREA.B.SCHWARTZ@USDOJ.GOV
ORACLE DE MEXICO SA DE CV                           YUGLAL.KUMAR@ORACLE.COM
PANASONIC AVIONICS CORPORATION                      JOSER.MARTINEZ@PANASONIC.AERO
PAUL HASTINGS LLP (COUNSEL FOR MERKAFON DE
MÉXICO, S.A. DE C.V.)                               HARVEYSTRICKON@PAULHASTINGS.COM
PERKINS COIE LLP (COUNSEL FOR THE BOEING
COMPANY AND ITS SUBSIDIARIES)                       JPENN@PERKINSCOIE.COM; ADSMITH@PERKINSCOIE.COM
PILLSBURY WINTHROP SHAW PITTMAN LLP (COUNSEL
FOR RANTER LEASING IV LIMITED)                      DANIA.SLIM@PILLSBURYLAW.COM
PILLSBURY WINTHROP SHAW PITTMAN LLP
(COUNSEL FOR AIR LEASE CORPORATION)
ATTN: LEO T. CROWLEY                                LEO.CROWLEY@PILLSBURYLAW.COM
PORT AUTHORITY LAW DEPARTMENT                       JBARRAGAN@PANYNJ.GOV
                                                    PATTYTOMASCO@QUINNEMANUEL.COM;JOANNACAYTAS@QUIN
QUINN EMANUAL URQUHART & SULLIVAN LLP               NEMANUEL.COM;
(COUNSEL FOR CERTAIN DIRECTORS OF GRUPO             SAMANTHAGILLESPIE@QUINNEMANUEL.COM;JUANMORILLO@Q
AEROMEXICO S.A.B. DE CV                             UINNEMANUEL.COM
PROCOPIO, CORY, HARGREAVES & SAVITCH LLP
(COUNSEL FOR CREDITOR RIU CALIFORNIA LLC)           GERALD.KENNEDY@PROCOPIO.COM
RANGER LEASING IV LIMITED C/O SIERRA ECHO
AIRCRAFT LEASING LIMITED)                           CWALSH@SKYWORKS.AERO
RIKER DANZIG SCHERER HYLAND &PERRETTI LLP
(COUNSEL FOR THE BANK OF NEW YORK MELLON AS
INDENTURE TRUSTEE FOR THE AEROVÍAS DE MÉXICO,
S.A. DE C.V. UNSECURED 7.000% SENIOR NOTES DUE IN   JSCHWARTZ@RIKER.COM; CPLAZA@RIKER.COM;
2025)                                               TSCHELLHORN@RIKER.COM
RUMBERGER, KIRK & CALDWELL, P.C. (COUNSEL FOR
THE GREATER ORLANDO AVIATION AUTHORITY)             SWILLIAMS@RUMBERGER.COM
SABRE GROUP INC                                     CHRIS.POWERS@SABRE.COM
SHEPPARD MULLIN RICHTER & HMPTON LLP (COUNSEL
FOR GAT AIRLINE GROUND                              ETILLINGHAST@SHEPPARDMULLIN.COM;
SUPPORT, INC.)                                      BWOLFE@SHEPPARDMULLIN.COM
SIDLEY AUSTIN LLP (COUNSEL FOR GENERAL ELECTRIC
COMPANY, GE CAPTIAL AVIATION SERVICES, LLC AND
THEIR AFFILIATES)                                   MGBURKE@SIDLEY.COM; APROPPS@SIDLEY.COM;

SIMPSON THACHER & BARTLETT LLP (COUNSEL FOR         MICHAEL.TORKIN@STBLAW.COM; BFRIEDMAN@STBLAW.COM;
COUNSEL FOR PLM PREMIER, S.A.P.I. DE C.V.)          DAVID.ZYLBERBERG@STBLAW.COM
SMBC AVIATION CAPITAL LIMITED                       FEDERICO.PASCUAL@SMBC.AERO
SMITH, GAMBRELL & RUSSELL, LLP (COUNSEL FOR
AVIATOR LESSORS)                                    BHALL@SGRLAW.COM; TSTALZER@SGRLAW.COM
SQUIRE PATTON BOGGS (US) LLP (COUNSEL FOR
PANASONIC AVIONICS CORPORATION)                     CHRISTOPHER.GIAIMO@SQUIREPB.COM




                                                    Page 4 of 6
   20-11563-scc      Doc 1737       Filed 09/17/21 Entered 09/17/21 13:17:16             Main Document
                                         GRUPO AEROMÉXICO, S.A.B. de C.V., et al
                                                 Pg  14 of 17
                                                   MSL Email List




Creditor Name                                        Email Address
STONE PIGMAN WALTHER WITTMANN L.L.C. (COUNSEL
FOR STONE PIGMAN WALTHER
WITTMAN, LLC)                                        JLANDIS@STONEPIGMAN.COM
STREUSAND, LANDON, OZBURN & LEMMON, LLP
(COUNSEL FOR DELL FINANCIAL SERVICES/ NTT DATA
SERVICES)                                            STREUSAND@SLOLLP.COM
TECHNICAL MATERIAL AND AVIATION
COMPONENTS REPAIR                                    LISA.S.SASSER@FAA.GOV
TESORERIA DE LA FEDERACION                           JARMEND@IMT.MX
                                                     MIGUEL.BARRIOS@BNYMELLON.COM;
                                                     JULIE.HOFFMAN-RAMOS@BNYMELLON.COM;
THE BANK OF NEW YORK MELLON                          PETER.BAUMGAERTNER@HKLAW.COM
THE BANK OF NEW YORK MELLON, AS INDENTURE
TRUSTEE CORPORATE TRUST, DEFAULT
ADMINISTRATION GROUP                                 DAVID.M.KERR@BNYMELLON.COM
UNITED STATES ATTORNEYS OFFICE                       PETER.ARONOFF@USDOJ.GOV
US DEPARTMENT OF TRANSPORTATION FAA                  9-AMC-AMZ-OVERFLIGHT-FEES@FAA.GOV

                                                     MJEDELMAN@VEDDERPRICE.COM;
VEDDER PRICE P.C. (COUNCEL FOR EXPORT                JVANDERMARK@VEDDERPRICE.COM;
DEVELOPMENT CANADA "EDC")                            WTHORSNESS@VEDDERPRICE.COM; DKANE@VEDDERPRICE.COM
VEDDER PRICE P.C.
(COUNSEL FOR EXPORT-IMPORT BANK FOR THE
UNITEDSTATES/EMIX, NATIXIS)
ATTN: JEFFREY T. VEBER, MICHAEL J. EDELMAN,          JVEBER@VEDDERPRICE.COM; MJEDELMAN@VEDDERPRICE.COM;
JEREMIAH J. VANDERMARK                               JVANDERMARK@VEDDERPRICE.COM;
VEDDER PRICE P.C.
(COUNSEL FOR EXPORT-IMPORT BANK OF THE UNITED
STATES/EXIM/NATIRX)
ATTN: WILLIAM W. THORSNESS                           WTHORSNESS@VEDDERPRICE.COM; DKANE@VEDDERPRICE.COM
VEDDER PRICE PC (COUNSEL FOR NAC AND
ACG/COUNSEL FOR MACQUARIE AIRCRAFT LEASING
SERVICES (IRELAND) LIMITED) COUNSEL FOR AERCAP
HOLDINGS N.V. AND, WITH RESPECT TO THE AIRCRAFT
IDENTIFIED IN EXHIBIT A, THE BENEFICIAL OWNERS
(OWNER PARTICIPANTS) AND OWNER TRUSTEES FOR
THE OWNER TRUSTS THAT RESPECTIVELY OWN SUCH
AIRCRAFT, EACH AS ALSO LISTED IN EXHIBIT A (AERCAP
HOLDINGS N.V., ALONG WITH SUCH OWNER
PARTICIPANTS AND OWNER TRUSTEES, COLLECTIVELY,       MJEDELMAN@VEDDERPRICE.COM;
AERCAP                                               JVANDERMARK@VEDDERPRICE.COM;
(EXHIBIT A NOA DN 176)                               WTHORSNESS@VEDDERPRICE.COM; DKANE@VEDDERPRICE.COM
                                                     JVEBER@VEDDERPRICE.COM;
                                                     JVANDERMARK@VEDDERPRICE.COM;
VEDDER PRICE PC (COUNSEL FOR AIMIA INC)              WTHORSNESS@VEDDERPRICE.COM
WALLER LANSDEN DORTCH & DAVIS, LLP (COUNSEL FOR
FOR EMBRAER AIRCRAFT CUSTOMER SERVICES, LLC,
YABORA INDUSTRIA AERONAUTICA S.A., \EMBRAER
AVIATION FRANCE SAS - EAF, AND EMBRAER AIRCRAFT
MAINTENANCE SERVICES, LLC, D/B/A EMBRAER
AIRCRAFT MAINTENANCE SERVICES, INC.,            DEREK.EDWARDS@WALLERLAW.COM;
COLLECTIVELY EMBRAER)                           BLAKE.ROTH@WALLERLAW.COM

WHITE AND CASE LLP (PROPOSED SPECIAL AVIATION        JCUNNINGHAM@WHITECASE.COM;
COUNSEL FOR GRUPO AEROMÉXICO, S.A.B. DE C.V., ET     RKAMPFNER@WHITECASE.COM;
AL.) AEROMÉXICO, S.A.B. DE C.V., ET AL.)             ROBBIE.BOONE@WHITECASE.COM
                                                     BMILLER@WILLKIE.COM; TGOREN@WILLKIE.COM;
WILLKIE FARR & GALLAGHER LLP(PROPOSED COUNSEL        CDAMAST@WILLKIE.COM;
OF OFFICIAL COMMITTEE OF UNSECURED CREDITOR)         DSINCLAIR@WILLKIE.COM




                                                     Page 5 of 6
  20-11563-scc      Doc 1737     Filed 09/17/21 Entered 09/17/21 13:17:16         Main Document
                                      GRUPO AEROMÉXICO, S.A.B. de C.V., et al
                                              Pg  15 of 17
                                                MSL Email List




Creditor Name                                     Email Address
WILMER CUTLER PICKERING HALE AND DORR LLP
(COUNSEL FOR SABRE GLOBAL TECHNOLOGIES, LIMITED   PHILIP.ANKER@WILMERHALE.COM;
AND SABRE GLBL INC/ SABRE )                       JOEL.MILLAR@WILMERHALE.COM
WILMINGTON TRUST COMPANY                          SHANNIGAN@WILMINGTONTRUST.COM
WORLD FUEL SERVICES                               JPINTO@WFSCORP.COM
WORLD FUEL SERVICES, INC.                         RMCMICHAEL@WFSCORP.COM
YOUNG CONAWAY STARGATT & TAYLOR, LLP (COUNSEL     PMORGAN@YCST.COM; SGREECHER@YCST.COM;
FOR WORLD FUEL SERVICES CORP)                     BANKFILINGS@YCST.COM


                                                  Count:180




                                                  Page 6 of 6
20-11563-scc   Doc 1737   Filed 09/17/21 Entered 09/17/21 13:17:16   Main Document
                                     Pg 16 of 17




                                 EXHIBIT E
20-11563-scc   Doc 1737     Filed 09/17/21      Entered 09/17/21 13:17:16           Main Document
               GRUPO AEROMÉXICO, S.A.B. Pgde17
                                             C.V.,
                                                 of et
                                                    17al. Case No. 20-11563 (SCC)
                     Electronic Mail Additional Service - Docket No. 1723


                   EMAIL
                   s_kimura@smfl.co.jp
                   akiko.osato@smfl.co.jp
                   shohei.ikeda@smfl.co.jp
                   k_sengoku@jurists.co.jp
                   laurent_levy@smbcgroup.com
                   ykubo@smbc-lf.com
                   ben_millard@smbcgroup.com
                   christopher_bousquet@smbcgroup.com
                   nick_lebonitte@smbcgroup.com
                   hiro_oshima@smbcgroup.com
                   rachel_kui@smbcgroup.com
                   Bernard_demeo@smbcgroup.com
                   andreas.trunk@nordlb.com
                   matthias.reuleaux@nordlb.de
                   tobias.palm@nordlb.de
                   sebastian.schubert@nordlb.de
                   christina.kollmann@nordlb.de
                   m_yamazaki@botlease.co.jp
                   r_ichinomiya@botlease.co.jp
                   Boas_Ritch@smtb.jp
                   Chao_Boris@smtb.jp
                   Hwang_SooWon@smtb.jp
                   Pollack_Elisa@smtb.jp
                   Shinkai_Hiroshi@smtb.jp
                   Takahashi_Rei@smtb.jp
                   Morita_Yasuaki2@smtb.jp
                   Yuki_Aoki@smbcgroup.com
                   cmrangency@smbcgroup.com




                                          Page 1 of 1
